    Case 2:16-cv-07642-ODW-JPR                      Document 8         Filed 10/17/16           Page 1 of 1 Page ID
                                                         #:26
                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA


                                            CIVIL MINUTES - GENERAL
 Case No.       CV 16-07642-ODW(JPRx)                                                        Date      October 17, 2016
 Title          Guillermo Robles v. Bubba Gump Shrimp Co. Restaurants, Inc.




 Present: The Honorable           OTIS D. WRIGHT II, UNITED STATES DISTRICT JUDGE

                       Sheila English                                                       None Present
                       Deputy Clerk                                                  Court Reporter / Recorder

                Attorneys Present for Plaintiffs:                              Attorneys Present for Defendants:

                             None                                                               None

 Proceedings:                 MINUTE ORDER (IN CHAMBERS)
         This action has been assigned to the calendar of Judge Otis D. Wright II.

         Counsel are STRONGLY encouraged to review the Central District’s website for additional information.

         The address is “http://www.cacd.uscourts.gov”.

         It is not necessary to clear a motion date with the Court Clerk prior to filing the motion. The Court hears motions on
         Mondays, Criminal at 10:00 a.m. and Civil at 1:30 p.m.

         The Court requires delivery of non-blue backed Mandatory Chambers Copy of ALL e-filed documents to Judge
         Wright’s document box outside the entrance to chambers near courtrooms 10 and 12.

         * [ Refer to the Court’s Local Rule No. 10-07 regarding ECF Courtesy paper Copies.]
PLEASE refer to Local Rule 79-5 for the submission of CIVIL ONLY SEALED DOCUMENTS.
CRIMINAL SEALED DOCUMENTS, will remain the same: all proposed sealed documents must be submitted via e-mail
to the Judge’s Chambers email address at ODW_chambers@cacd.uscourts.gov, excluding those submitted by pro se parties
and “IN CAMERA” filings, which shall continue to comply with Local Rule 79-5.1. Please refer to the Judge’s procedures
and schedules for detailed instructions for submission of sealed documents.

** Attention ECF Attorneys- Chambers Email Addresses are available under your Utilities menu. **



                                                                                                                 :     00



                                                                     Initials of Preparer                  se




CV-90 (10/08)                                       CIVIL MINUTES - GENERAL                                           Page 1 of 1
